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                                            February 2, 2024


The Honorable Jennifer L. Hall                                            VIA ELECTRONIC FILING
United States District Court
  for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Unit 17, Room 6312
Wilmington, DE 19801-3555

          Re:       Northwestern Univ. v. Universal Robots A/S, et al.; C.A. No. 21-149 (JLH)

Dear Judge Hall:

        Pursuant to the Court’s January 26, 2024 Oral Order, the parties have conferred and do not
consent to Judge Burke’s jurisdiction to conduct all proceedings in this case. The parties do
consent, however, to Judge Burke (or another magistrate judge) conducting voir dire and selecting
a jury, especially if that provides greater scheduling flexibility.

        The parties have also conferred as to their availability for trial. Due to a number of
scheduling conflicts and witness availability issues, the parties would next be available for a trial
in the fall, starting the week of September 16, 2024.

          The parties will file a joint status letter on or before February 16, 2024, as ordered.

                                                 Respectfully,

                                                 /s/ Jeremy A. Tigan

                                                 Jeremy A. Tigan (#5239)

JAT:lo
cc:    Clerk of the Court (via hand delivery)
       All Counsel of Record (via CM/ECF and e-mail)
